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From:               Kira Kelley
To:                 Claire Glenn
Cc:                 Enslin, Sharda; Robertson, Heather (she/her/hers); Sarff, Kristin
Subject:            [EXTERNAL] Re: Draft protective order
Date:               Friday, July 26, 2024 5:53:56 PM
Attachments:        Supplement to Initial Disclosures.pdf


Hi Attorney Enslin,

I had a few quick questions/notes on my list to check in with you about, and
hopefully you're not stuck at a desk working on the weekend and not seeing this
until Monday.

First, how does our protective order second draft look? Anything you'd like to talk
through so we can finalize that and send it in?

Second, we're looking to do a 30(b)(6) evidentiary deposition with the City. I'm
working up the formal notice right now, with a list of questions/topics, but wanted
to give you a heads up and to inquire as to your and the City's availability for that
so we can get something on the books.

Third, we had a few supplements to our disclosures to share, which I have
attached.

Thank you,

Kira


____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




                                                                                                         Exhibit B
